Case 1:16-cv-06738-CBA-PK Document 55 Filed 12/29/17 Page 1 of 3 PageID #: 834




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                           X


WILLIAM GALICIA,on Behalf of Himself                                          ' •'l". •
and All Others Similarly Situated,                                              nrp o
                      Plaintiff,

       -against-                                                                       '

ICE CREAM HOUSE ON BEDFORD AVE                 NOT FOR PUBLICATION
LLC,ICE CREAM HOUSE,LLC,ICE                    ORDER
CREAM HOUSE ON AVE M LLC,ICE                   16-CV-6738(CBA)(PK)
CREAM HOUSE ON 36TH STREET LLC,
REAL KOSHER ICE CREAM INC.,
DANIEL KLEIN,DAVID KLEIN,and
AVIGDOR KLEIN,

                      Defendants.


AMON,United States District Judge:

       Plaintiff William Galicia brings this action against Defendants Ice Cream House on

Bedford Ave LLC,Ice Cream House, LLC,Ice Cream House on Ave M LLC,Ice Cream House

on 36th Street LLC, Real Kosher Ice Cream Inc. ("RKIC"), Daniel Klein, David Klein, and

Avigdor Klein, asserting individual, class, and collective claims under the Fair Labor Standards
Act("FLSA"),29 U.S.C. § 201 et sea., and the New York Labor Law("NYLL"),N.Y. Lab. Law
§ 190 et sea. (D.E. # 40.) On May 19, 2017, the Court referred to the Honorable Peggy Kuo,
United States Magistrate Judge, RKIC's intended motion to dismiss all claims against it. (D.E.
dated May 19,2017.) RKIC filed the motion on July 13, 2017,(D.E.# 42), and Magistrate Judge
Kuo recommended that this Court deny the motion,(D.E. # 52). Before the Court is her Report

and Recommendation ("R&R"), dated October 17, 2017. For the reasons set forth below, the
Court adopts the well-reasoned R&R.

       When deciding whether to adopt an R&R, the Court "may accept, reject, or modify, in
whole or in part, the findings or recommendations made by the magistrate judge." 28 U.S.C.

                                               1
Case 1:16-cv-06738-CBA-PK Document 55 Filed 12/29/17 Page 2 of 3 PageID #: 835



§ 636(b)(1). To accept those portions of the R&R "to which no timely objection has been made,

a district court need only satisfy itself that there is no clear error on the face ofthe record." Jarvis

V. N. Am.Globex Fund. L.P.. 823 F. Supp. 2d 161,163(E.D.N.Y. 2011)(quoting Wilds v. United

Parcel Serv.. 262 F. Supp.2d 163,169(S.D.N.Y. 2003)). When a party makes specific objections,

the Court "must determine de novo any part of the magistrate judge's disposition" to which the

party objected. Fed. R. Civ. P. 72(b)(3). But if a party "makes only conclusory or general

objections, or simply relitigates his original arguments,the Court reviews the[R&R]only for clear

error." Picinich v. N.Y. Den't of Educ.. No. 16-CV-844 (CBA), 2017 WL 1079976, at *1

(E.D.N.Y. Mar. 22,2017).

        On October 31, 2017, RKIC timely objected to the R&R. (D.E.# 53.) However, most of

RKIC's objections constitute attempts at relitigating arguments it presented to Magistrate Judge

Kuo. The Court identifies only two new, specific objections and rejects both. First, RKIC argues

that Magistrate Judge Kuo improperly assumed the truth of certain pleadings made upon

information and belief. (Id. at 4.) RKIC is incorrect. "When a plaintiff sets out allegations on

information and belief, he is representing that he has a good-faith reason for believing what he is

saying, but acknowledging that his allegations are based on secondhand information that he
believes to be true." Barrett v. Forest Labs.. Inc.. 39 F. Supp. 3d 407, 431 (S.D.N.Y. 2014)

(internal quotation marks and alterations omitted)(quoting Pirelli Armstrong Tire Corp. Retiree

Med. Benefits Tr. v. Walereen Co.. 631 F.3d 436, 442 (7th Cir. 2011)). A plaintiff may plead

facts upon information and belief—and a court may assume the truth of those facts for purposes

of a dismissal motion—^"where the facts are peculiarly within the possession and control of the

defendant, or where the belief is based on factual information that makes the inference of

culpability plausible." Arista Records. LLC v. Doe 3.604 F.3d 110,120(2d Cir. 2010)(citations
Case 1:16-cv-06738-CBA-PK Document 55 Filed 12/29/17 Page 3 of 3 PageID #: 836



omitted). All of the Second Amended Complaint paragraphs challenged by RKIC satisfy the

standard set by the Second Circuit in Arista Records. Magistrate Judge Kuo correctly relied upon

those allegations in her recommendation to deny the motion. In any event, Magistrate Judge Kuo

identified in her R&R other well-pleaded allegations, which, standing alone, compel the

conclusion that RKIC's motion should he denied. Accordingly, the Court rejects RKIC's first

objection.

       Second. RKIC contends that Magistrate Judge Kuo "should have relied upon [her]judicial

experience and commons [sic] sense to find that the Plaintiffs admission that Plaintiff did not
work directly for RKIC and the Plaintiffs internally contradictory allegation that the Entity
Defendants 'willfully failed to furnish Named Plaintiff... with statements with every payment of
wages ... listing ... the name of employer,' rendered the Plaintiffs allegations contradictory to
the point of implausibility." (D.E.# 53 at 7—8 (alterations and citation omitted).) This argument
makes no sense and warrants no further comment.

       Having disposed ofthe two proper objections,the Court examines the rest ofthe R&R for
clear error. Finding none, the Court adopts Magistrate Judge Kuo's well-reasoned R&R.
Plaintiffs Second Amended Complaint contains allegations making plausible the claim that RKIC
qualifies as an employer under the FLSA and NYLL. Accordingly, the Court DENIES RKIC's
motion to dismiss.

       SO ORDERED.

Dated: December
        Brooklyn, New York                               s/Carol Bagley Amon

                                                    United Siates District Judge
